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                             UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF PENNSYLVANIA

IN RE:         Allen Windrim                         CASE NO.: 21-10888-mdc
                            Debtor
                                                     CHAPTER 13
               Fay Servicing, LLC as servicer for
               Wilmington Trust, National            Judge: Magdeline D. Coleman
               Association, not in its individual
               capacity, but solely as Trustee for   Hearing Date: September 7, 2021 at 10:30 am
               MFRA Trust 2016-1
                              Movant                 Objection Deadline: August 24, 2021
               v.

               Allen Windrim
               William C. Miller - Trustee
                            Respondents


                                MOTION FOR RELIEF FROM THE
                                     AUTOMATIC STAY


          Fay Servicing, LLC as servicer for Wilmington Trust, National Association, not in its

individual capacity, but solely as Trustee for MFRA Trust 2016-1 (together with any successor

and/or assign, “Movant”) hereby moves this Court for an Order (i) pursuant to 11 U.S.C. §

362(d)(1), vacating the automatic stay to permit Movant to enforce its mortgage on the Debtor’s

premises located at 2244 S 9th St, Philadelphia, PA 19148-3143 (the “Property”) and (ii) for such

other and further relief as is just and proper. In support of this Motion, Movant respectfully

states:



          1.      Movant is the holder of a Note executed by the Debtor, dated August 25, 2006,

whereby the Debtor promised to repay $172,000.00 plus interest to World Savings Bank, FSB

(the “Original Lender”). To secure the repayment of the Note, the Debtor executed a Mortgage

in favor of Original Lender, encumbering the Property, which was recorded in Recorder of Deeds
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Office in Philadelphia County, Pennsylvania as Document ID#51524441. The Mortgage was

ultimately assigned to Movant by an Assignment of Mortgage. A copy of the Note, Mortgage,

and Assignment of Mortgage are attached hereto as Exhibit A.

         2.     A Petition under Chapter 13 of the United States Bankruptcy Code was filed with

respect to the Debtor on April 2, 2021.

         3.     This Court has jurisdiction over this case and this motion pursuant to 28 U.S.C. §§

157 and 1334.

         4.     Venue of this case and this motion is proper pursuant to 28 U.S.C. §§ 1408 and

1409.

        5.      The Debtor has failed to make current mortgage payments due to Movant under

the terms of the Mortgage. As a result, the Mortgage remains post-petition due for May 1, 2021.

        6.      Pursuant to 11 U.S.C. §362 (d)(1), the court shall enter an order granting a secured

creditor relief from the automatic stay for cause “including the lack of adequate protection of an

interest in property of such party and interest.”

        9.      Specifically, courts have found cause for the granting of relief from an automatic

stay where the debtor has failed to make post-petition mortgage payments as they become due. In

Re Michael Lancelot Taylor, 151 B.R. 646,648 (Bankr. E.D.N.Y. 1993).

        10. Plaintiff incurred attorney’s fees in the amount of $1,050.00 and filing costs of

$188.00 in connection with filing and prosecuting of this motion for relief and seeks recovery of

those amounts in order to cure the post-petition default.

        11.     Since grounds exist to vacate the stay in Debtor’s case, Movant therefore requests

that the automatic stay imposed under 11 U.S.C. § 362(a) be modified and terminated for cause

to permit Movant to pursue its rights under the Mortgage and applicable law, including without
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limitation, the commencement and consummation of a foreclosure action and/or eviction

proceeding.

        WHEREFORE, Movant respectfully requests an Order of this Court vacating the

automatic stay for cause pursuant to 11 U.S.C. § 362(d)(1); and for such other, further and

different relief as to this Court may deem just, proper and equitable.   In addition, Movant

requests an Order allowing Movant to offer and provide Debtors with information regarding a

potential Forbearance Agreement, short sale, deed in lieu, loan modification, Refinance

Agreement, or other loan workout/loss mitigation agreement, and to enter into such agreement

with the Debtor without further order of the court.

Dated: August 10, 2021

                                             By: _/s/Lorraine Gazzara Doyle________
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